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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

In the Matter of the Complaint of              )
                                               )
BOAT AARON & MELISSA, INC., as owner of )                    Civil Action No.: 2:21-CV-001-JAW
the F/V EMMY ROSE (O.N. 909149), a 80’ fishing )
vessel, for Exoneration From, or Limitation of )             IN ADMIRALTY
Liability.                                     )

         JOINT STATUS REPORT AND PROPOSAL FOR FURTHER STATUS

       Now comes the Plaintiff, Boat Aaron & Melissa, Inc., as Owner of F/V EMMY ROSE

(O.N. 909149), and the Claimants, Jeffrey Matthews, Jr. as Personal Representative of the Estate

of Jeffrey Mathews, Sr., deceased, Ann Preble as Personal Representative of the Estate of Robert

Blethen, Jr., Deceased, Ashley Gross as the Representative of the Estate of Michael John Proper,

Jr., and Jennifer Ward and Matthew Ward, Personal Representatives of the Estate of Ethan

Matthew Ward in the above entitled action, by and through their respective undersigned counsel

to provide the Court with a Status Report and to request the Parties be allowed to provide a

further Status Report by April 2, 2021.

1.     Plaintiff has provided a global settlement offer whereby the Plaintiff’s protection and

indemnity insurance policy limits would be tendered to the Court in exchange for a full release

and, to the extent applicable, Court approval of the minors’ settlements.

2.     The Personal Representatives are conceptually on board with this tender. First, the policy

in question is a draw down or wasting policy meaning Plaintiff’s continued prosecution of its

limitation case depletes the available insurance proceeds for the Estates. Second, the Estates

intend to ask the Court to make a determination as to allocation of the proceeds, perhaps through

the use of a Magistrate Judge.
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3.     The Personal Representatives of Ethan Matthew Ward are awaiting final appointment

approval from the Probate Court which is expected within the next approximately three to four

weeks. The parties cannot finalize any agreements on how to proceed until the Personal

Representatives are confirmed.

4.     While the Parties really appreciate the Court’s prompt attention to this matter, the Parties

believe that it is in everyone’s best interest for the Court to maintain status quo to preserve

everyone’s current rights in order to minimize further depletion of the available policy proceeds

through motion practice and the filing of further pleadings. The Parties will provide the Court

with a further Status Report on April 9, 2021 concerning how the Parties will proceed.

Respectfully submitted,                                Respectfully submitted
Boat Aaron & Melissa, Inc.,                            By the Claimants, Jennifer Ward and
By its counsel,                                        Matthew Ward, Personal Representatives of
                                                       The Estate of Ethan Matthew Ward,

/s/David S. Smith                                      /s/ Carolyn M. Latti
David S. Smith, Esq.                                   Carolyn M. Latti
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Respectfully submitted                                 Respectfully submitted
By the Claimant, Ashley Gross,                         By Claimant Jeffrey Matthews Jr.
As the Representative of the                           As the Representative of as Personal
Michael John Proper, Jr.,                              Representative of the Estate of Jeffrey
                                                       Mathews, Sr.
/s/Brian S. McCormick
Joseph M. Orlando, Jr.                                 /s/Terrance Duddy
BBO No.: 680995                                        R. Terrance Duddy
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Respectfully submitted,
Ann Preble as Personal Representative
Of the Estate of Robert Blethen, Jr.,


/s/ Dov Sacks
Dov Sacks
ME Bar No. 5500
Berman & Simmons, P.A.
P.O. Box 961
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                              CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the within document was filed on March 10, 2021
through the E-Filing system and will be sent electronically to counsel who are registered
participants identified on the Notice of Electronic Filing.

                                                 “/s/ David S. Smith”
                                                 David S. Smith
